                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
  IN THE MATTER OF:

  JOSEPH DuMOUCHELLE and
  MELINDA J. ADDUCCI,                                Chapter 7
                                                     Case No. 19-54531
        Joint Debtors.                               Hon. Phillip J. Shefferly
                                      /

     DEBTORS’ OBJECTION TO TRUSTEE’S MOTION TO COMPEL

       Debtors state:

       1.      Debtor Joseph DuMouchelle has indicated that he is in the
               process of complying with the Trustee’s subpoena, however, his
               ability to gather documents is hampered by various matters
               including the Covid virus and getting information from others
               whose schedule has been affected by the virus.

       2.      Debtors sought an extension to May 18 to provide the requested
               documents and have indicated that they are in the process of
               gathering and disseminating the documents.

       3.      Debtors do not believe that a sanction for a significant dollar
               amount or otherwise is appropriate in light of the
               circumstances.

        WHEREFORE, this Court should deny the Trustee’s motion to compel.

                                                  Respectfully submitted,
                                                  /s/ Robert N. Bassel
                                                  Robert N. Bassel, P48420
                                                  POBox T
                                                  Clinton, MI 49236
                                                  248.677.1234
                                                  bbassel@gmail.com
                                                  Counsel for Deb tors

       Dated: 5.20.2020




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  IN THE MATTER OF:

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        Joint Debtors.                            Hon. Phillip J. Shefferly
                                    /

                   PROOF OF SERVICE OF
     DEBTORS’ OBJECTION TO TRUSTEE’S MOTION TO COMPEL
 Debtors state,

       1.     I served a copy of the above-referenced document upon counsel of
 record via the ECF system on 5.20.2020:




                                                Respectfully submitted,
                                                /s/ Robert N. Bassel
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                                                Clinton, MI 49236
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